Case 2:04-CV-02194-BBD-tmp Document 14 Filed 07/18/05 Page 1 of 2 Page|D 140

IN THE UNITED sTATEs DISTRICT coUR'r
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUL |8 AH lg, 27
wESTERN DIVISION
IHOMAS M. earn
UNITED sTATES oF AMERICA, ) ClEH<, U.§_. getawch
, ) W)D Oz~ ::`\; :.,.§§:_W.ES
Plaintiff, )
)
v. ) cv. No. 04-2194-1;)/P
- )
MARCUS BOYD, )
)
Defendant. )
)

ORDER GRANT]NG GOVERNMENT’S MOTION FOR PERl\/[ISSION
TO REPLY TO MOTION FILED PURSUANT TO TITLE 28 U.S.C. § 2255

Upon motion of the United States, it appears that the government will need to reply to
Petitioner’s memorandum and will need additional time to so. For good cause shown, it is therefore
ORDERED that the United States shall file aresponse within forty-live (45) days of entrance

of this order.

    

ge Bernice Donald
nited States District Court

 
 
 

Thts document entered on the docket sh

with Rule 58 and/or 79(a) FRCP on

 

l_lll
CA\|

TRICT OURT - WETRNEDISTCRIT OF ENNSSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02194 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

 

Marcus Boyd
17084-076
P.O. Box 1000

US Penitentiary
Leavenworth, KS 66048

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

LaWrence J. Laurenzi

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

